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                               UNITED STATES DISTRICT COURT

                           NORTHERN DISTRICT OF CALIFORNIA


   IN RE: ROUNDUP PRODUCTS                          MDL No. 2741
   LIABILITY LITIGATION
                                                    Case No. 16-md-02741-VC


   This document relates to:                        ORDER TRANSFERRING CASE TO
                                                    THE CENTRAL DISTRICT OF
   Perez-Hernandez et al. v. Bayer                  CALIFORNIA
   Aktiengesellschaft et al., Case No. 23-cv-
                                                    Re: Dkt. Nos. 17566, 17567, 17568
   04946-VC



       For the reasons discussed at the hearing, venue is improper in this district. Instead of

being dismissed, the case shall be transferred to the Central District of California. See 28 U.S.C.

§ 1406(a).

       In light of the transfer, the motions to dismiss and the motion to strike are deemed moot.

       The Clerk is directed to transfer the above-captioned case to the United States District
Court for the Central District of California.



       IT IS SO ORDERED.

Dated: February 16, 2024
                                                ______________________________________
                                                VINCE CHHABRIA
                                                United States District Judge
